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7
8                    IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )         2:08-CR-00512-JAM
                                   )
12              Plaintiff,         )
                                   )
13        v.                       )         APPLICATION FOR ORDER
                                   )         REGARDING CRIMINAL FORFEITURE
14   SARET NOSAR,                  )         OF PROPERTY IN GOVERNMENT
     SOMACHY KEO,                  )         CUSTODY - 18 U.S.C. §
15   KANARY KHIN,                  )         983(a)(3)(B)(ii)(II)
     SEAN ENG, and                 )
16   PANG YEAN,                    )
                                   )
17              Defendants.        )
     ______________________________)
18
19         The United States of America, through its counsel, hereby
20   moves for an order allowing the government to maintain custody of
21   property already in the government’s possession pending the
22   resolution of a criminal forfeiture matter.         The grounds for the
23   motion are as follows:
24         On or about October 8, 2008, during the execution of federal
25   search warrants federal agents seized the following:
26         a. Approximately $33,952 in U.S. currency seized at
           the residence controlled by Saret Nosar at 911 New
27         Depot Street, #12, Los Angeles, California;
28   ///
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1         b. Approximately $100,000 seized in the form of cashiers
          check number 111778 of the 1st International Bank at the
2         residence controlled by Saret Nosar at 911 New Depot Street,
          #12, Los Angeles, California;
3
          c. Approximately $3,000 seized in the form of cashiers
4         check number 111777 of the 1st International Bank at
          the residence controlled by Saret Nosar at 911 New
5         Depot Street, #12, Los Angeles, California1;
6         d. A large diamond ring; a gold ring with diamonds and
          a blue sapphire; and a Rolex watch with diamonds; all
7         seized at the residence controlled by Saret Nosar at
          911 New Depot Street, #12, Los Angeles, California;
8
          e. Approximately $10,000 in U.S. currency seized at
9         Kanary Khin’s and Sean Eang’s residence at 3834 Brayton
          Avenue, Long Beach, California;
10
          f. Approximately $2,279.49 in U.S. currency seized on
11        Pang Yean’s person in Modesto, California;
12        g. Approximately $5,900 in U.S. currency seized from
          Pang Yean’s vehicle, a 1998 Brown Honda Accord, License
13        #5DMF865, in Modesto, California;
14        h. Approximately $10,237 in U.S. currency seized at
          the residence of Pang Yean at 2040 Minoso Drive,
15        Modesto, California;
16        i. Nine gold bars, with an approximate weight of 1.2
          ounces each, and three pieces of gold jewelry, seized
17        at the residence of Pang Yean at 2040 Minoso Drive,
          Modesto, California; and
18
          j. Gold bracelets and a gold necklace, seized at the
19        residence of Pang Yean at 2040 Minoso Drive, Modesto,
          California.
20
21   Hereinafter, the above-referenced assets are collectively
22   referred to as the "seized assets".
23        In accordance with 18 U.S.C. § 983(a)(1), the Federal Bureau
24
25        1
            On October 9, 2008, the government obtained seizure
     warrants for the original cashiers checks made payable to Gul S.
26   Nosar that were seized from the residence he controlled. The
     seizure warrants authorized the government to seize and negotiate
27   the cashiers checks. The seizure warrants were executed and the
     above-listed cashiers checks (b and c) were delivered to the U.S.
28   Marshals Service.

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1    of Investigation ("FBI") is currently sending notice to all
2    potential claimants of its intent to forfeit the seized assets in
3    a non-judicial forfeiture proceeding, and is causing notice to be
4    published in a newspaper of general circulation.
5         Pursuant to 18 U.S.C. § 983(a)(3), the United States has 90
6    days in which to 1) return the property to the defendant, 2)
7    commence a civil judicial forfeiture action, or 3) commence a
8    criminal forfeiture action by including the seized assets in a
9    criminal indictment.    On October 30, 2008, the government elected
10   the third option when it filed an Indictment containing a
11   forfeiture allegation concerning the seized assets.         That
12   Indictment is now pending in this Court.
13        Title 18 U.S.C. § 983(a)(3)(B)(ii)(II) provides that when
14   the government elects the third option, it must "take the steps
15   necessary to preserve its right to maintain custody of the
16   property as provided in the applicable criminal forfeiture
17   statute".   The applicable forfeiture statutes in this case are 18
18   U.S.C. § 981(a)(1)(C), 18 U.S.C. § 1955(d), and 28 U.S.C. §
19   2461(c).    Title 28 U.S.C. § 2461(c) incorporates the forfeiture
20   procedures set forth in 21 U.S.C. § 853.       That statute prescribes
21   several methods for preserving property for the purpose of
22   criminal forfeiture.
23        Section 853(f) authorizes the issuance of a criminal seizure
24   warrant.    However, in cases like this one, where the property in
25   question is already in government custody, it is not appropriate
26   for a court to issue a seizure warrant directing the government
27   to seize property from itself.     In turn, Section 853(e)
28   authorizes the court to issue a restraining order or an

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1    injunction to preserve the property for forfeiture.         However,
2    that provision is not pertinent because there is no need to
3    enjoin the government from disposing of property that the
4    government has taken into its custody for the purpose of
5    forfeiture, and that the government intends to preserve for that
6    purpose through the conclusion of the pending criminal case.
7         Finally, Section 853(e)(1) also authorizes a court to "take
8    any other action to preserve the availability of property"
9    subject to forfeiture.    The government contends that this
10   provision applies in circumstances where, as here, the government
11   has already obtained lawful custody of the seized assets pursuant
12   to federal search and seizure warrants, and the government seeks
13   to comply with Section 983(a)(3)(B)(ii)(II).        Thus, all that is
14   required to comply with Section 983(a)(3)(B)(ii)(II) is an order
15   from this Court stating that the United States and its agencies,
16   including FBI and/or the United States Marshals Service, may
17   continue to maintain custody of the seized assets until the
18   criminal case is concluded.
19        Accordingly, pursuant to Section 853(e)(1), the United
20   States respectfully moves this court to issue an order directing
21   that the United States may maintain custody of the seized assets
22   through the conclusion of the pending criminal case, and stating
23   that such order satisfies the requirements of 18 U.S.C.
24   § 983(a)(3)(B)(ii)(II).
25   DATED: December 17, 2008         McGREGOR W. SCOTT
                                      United States Attorney
26
                                      /S/ Benjamin Wagner
27
                                      BENJAMIN B. WAGNER
28                                    Assistant U.S. Attorney

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1                                     ORDER
2         This matter comes before the Court on the motion of the
3    United States for an Order authorizing the government and its
4    agencies to maintain custody of certain property pending the
5    conclusion of the pending criminal case.       For the reasons
6    provided in the government’s motion, the Court makes the
7    following orders:
8         IT IS HEREBY ORDERED, that the United States and its
9    agencies, including the FBI and/or the U.S. Marshals Service, are
10   authorized to maintain and preserve the following assets until
11   the conclusion of the instant criminal case, or pending further
12   Order of this Court:
13        a. Approximately $33,952 in U.S. currency seized at the
          residence controlled by Saret Nosar at 911 New Depot Street,
14        #12, Los Angeles, California;
15        b. Approximately $100,000 seized in the form of cashiers
          check number 111778 of the 1st International Bank at the
16        residence controlled by Saret Nosar at 911 New Depot Street,
          #12, Los Angeles, California;
17
          c. Approximately $3,000 seized in the form of cashiers
18        check number 111777 of the 1st International Bank at
          the residence controlled by Saret Nosar at 911 New
19        Depot Street, #12, Los Angeles, California;
20        d. A large diamond ring; a gold ring with diamonds and
          a blue sapphire; and a Rolex watch with diamonds; all
21        seized at the residence controlled by Saret Nosar at
          911 New Depot Street, #12, Los Angeles, California;
22
          e. Approximately $10,000 in U.S. currency seized at
23        Kanary Khin’s and Sean Eang’s residence at 3834 Brayton
          Avenue, Long Beach, California;
24
          f. Approximately $2,279.49 in U.S. currency seized on
25        Pang Yean’s person in Modesto, California;
26        g. Approximately $5,900 in U.S. currency seized from
          Pang Yean’s vehicle, a 1998 Brown Honda Accord, License
27        #5DMF865, in Modesto, California;
28        h.   Approximately $10,237 in U.S. currency seized at

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1         the residence of Pang Yean at 2040 Minoso Drive,
          Modesto, California;
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          i. Nine gold bars, with an approximate weight of 1.2
3         ounces each, and three pieces of gold jewelry, seized
          at the residence of Pang Yean at 2040 Minoso Drive,
4         Modesto, California; and
5         j. Gold bracelets and a gold necklace, seized at the
          residence of Pang Yean at 2040 Minoso Drive, Modesto,
6         California.
7         IT IS SO ORDERED.
8    DATED: December 18, 2008               /s/ John A. Mendez
                                            JOHN A. MENDEZ
9                                           United States District Judge
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